CaSe 18-50350 DOC 15 Filed 03/18/19 EOD 03/18/19 16212:43 PQ 1 Of 4

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

 

INDIANAPOLIS DIVISION
IN RE: )
)
HUGH LAWRENCE BROOKS and )
TAMMIE LATHERES SIMS-BROOKS, ) CASE NO. 09-02012-JMC-ll
)
Debtors. )
)
)
HUGH LAWRENCE BROOKS, )
) ADV. PROC. NO.
Plaintiff, ) 18-503 50
)
VS. )
)
CORONADO STUDENT LOAN TRUST )
)
D,efendants. )

APPLICATION FOR ENTRY OF DEFAULT
To the Clerk of the U.S. Bankruptcy Court for the Southern District of Indiana
Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff requests that the

Clerk enter the default of the Defendant, Coronado Student Loan Trust for failure to plead or
otherwise defend as provided by the Federal Rules of Civil Procedure as appears from the
Aff1davit of counsel, Eric C. Redrnan, attached hereto.

Respectfully submitted,

'/;/W /

/s/ Eric C. Rea'man
Eric C. Redman

CaSe 18-50350 DOC 15 Filed 03/18/19 EOD 03/18/19 16212:43 PQ 2 Of 4

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing has been duly filed
electronically using the Court’s ECF system and additional copies have been served either
electronically or by United States First Class Mail, postage pre-paid, on all parties not registered
to receive electronic service via e-mail, on the J_&th day of March 2019.

us__tr)regionl0.in.ecf@usdoi .gov

Coronado Student Loan Trust
500 Delaware Avenue, llth Floor,
Wilmington, DE 19801

/"4? l
/s/ Erz`c C. Redman
Eric C. Redman
REDMAN LUDWIG, P.C.
151 N. Delaware Street, Suite #1106
Indianapolis, IN 46204
(317) 685-2426 - telephone
(317) 636-8686 - fax
erednian¢'?l.*redmanludwig.com

CaSe 18-50350 DOC 15 Filed 03/18/19 EOD 03/18/19 16212:43 PQ 3 Of 4

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

 

 

lNDIANAPOLIS DIVISION
IN RE: )
)
HUGH LAWRENCE BROOKS and )
TAMMIE LATHERES SIMS-BROOKS, ) CASE NO. 09-02012-]1\/[€-11
)
Debtors. )
)
)
HUGH LAWRENCE BROOKS, )
) A.DV. PROC 1IO.
Plaintiff, ) 1 -50350
)
VS. )
)
CORONADO STUDENT LOAN TRUST )
)
Defendant. )
AFFIDAVIT FOR ENTRY OF DEFAULT
STATE OF INDIANA )

COUNTY OF MARION § SS.

I, Eric C. Redman, being duly sworn, state that l am the attorney for the Plaintiff in the
above-entitled action; that the complaint and summons in this action were served on Defendant,
Coronado Student Loan Trust, on January 28, 2019; that service was made by mail service and
certified mail; that the Defendant is not protected by the Service Members Civil Relief Act, P.L.
108-109; that the Defendant is not an infant or incompetent person; that the time within which
Defendant may plead or otherwise defend has expired; that the Defendant has not pled, answered
or otherwise defended, and that the time for Defendant to answer, plead or otherwise defend has
not been extended

I swear or affirm under the penalties of perjury that the foregoing representations are true

and accurate to the best of my knowledge and belief.

Eric C. Redman
Counsel for Plaintiff

 

CaSe 18-50350 DOC 15 Filed 03/18/19 EOD 03/18/19 16212:43 PQ 4 Of 4

_ `,,A
SW()RN TO AND SUBSCRIBED before me this §§ 5 day of March, 2019.

 

M… ~ \ b (J\;<€QRQMQJ\N*€ Q~c)$l€'?/;

 

m Al\n€ R 813

mary P:guc seal swc:gof indiana ) 1 gnature

c l mriinm‘i;mi¢%on 1771 `
7' comm ssion u r -
§ My commission Expms ome/2027 ‘~ § ,__(4€ C\,/\/,.v/£ 9 ~ ex 613
ann-Wme _ \-"~>u _'

rinted N me of Notary
My commission expires: My county of residence:

\,%»§@1'7 tommy

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing has been duly filed
electronically using the Court’s ECF system and additional copies have been served either
electronically or by United States First Class Mail, postage pre-paid, on all parties not registered
to receive electronic service via e-mail, on the nth day of March 2019.

ustpregionl 0.in.ecl"('@.,usdoig<)v

Coronado Student Loan Trust ,/F{;/ _
500 Delaware Avenue, llth Floor, _ " L/
Wilmington, DE 19801 ,' "Erz'c C. Redman

Eric C. Redman

REDMAN LUDWIG, P.C.

151 N. Delaware Street, Suite #1106
Indianapolis, IN 46204

(317) 685-2426 - telephone

(317) 636-8686 - fax
eredman([_l_`,!redmanludwig.com

